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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                        MISSOULA DIVISION

 UNITED STATES OF AMERICA,                   9:22-po-5050-KLD

             Plaintiff,                      VIOLATION: F02S0013

      vs.                                    ORDER

 ANN M. CAPPS,

             Defendant.


      Based upon the motion of the United States pursuant to the agreement

between the parties and for good cause appearing,

      IT IS HEREBY ORDERED that the defendant shall pay a total of $90.00

($50.00 fine, $30.00 processing fee and $10.00 special assessment). Payment(s)

should be mailed to the following address:

      Central Violations Bureau
      P.O. Box 780549
      San Antonio, TX 78278

      The check(s) should be made out to the U.S. Courts - CVB. Defendant may

also pay online at www.cvb.uscourts.gov. Payments may be made in the amount

of $10.00 on the 5th of each month starting February 5, 2023.
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     IT IS FURTHER ORDERED that the initial appearance in the above

captioned matter, currently scheduled for December 1, 2022, is VACATED.



                 2nd day of December,
     DATED this _____              r, 2022.
                                      20022.


                                          _______________ ______________
                                           ___________________________
                                          K  thl
                                          Kathleen L
                                                   L. D  S t
                                                      DeSoto
                                          United States Magistrate Judge




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